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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

UNITED STATES OF AMERICA,         :       MOTION TO VACATE
                                  :       28 U.S.C. §2255
                                  :
           v.                     :       CRIM.   NO.   1:07-CR-279-43-CAP
                                  :
KEVIN JIMENEZ CASTILLO            :       CIV. NO.   1:10-CV-1444
                                  :
           Defendant.             :


     GOVERNMENT’S    RESPONSE TO DEFENDANT’S MOTION             TO   VACATE,
                      SET ASIDE OR CORRECT SENTENCE


     COMES NOW the United States of America, by Sally Quillian

Yates, United States Attorney for the Northern District of Georgia,

and Jenny Turner, Assistant United States Attorney, and hereby

files the Government’s Response to Defendant’s Motion to Vacate,

Set Aside or Correct Sentence pursuant to 28 U.S.C. § 2255.

                 I. PROCEDURAL HISTORY AND FACTS

     On or about November 12, 2008, a grand jury in the Northern

District   of   Georgia   returned    a   Third   Superseding   Indictment

charging Defendant Kevin Jimenez-Castillo (Defendant) and others

with the following offenses:      Count One charged a violation of 21

U.S.C. § 841(a)(1)(conspiracy to possess with intent to distribute

at least five kilograms of cocaine); Count Fifteen charged a

violation of 18 U.S.C. §924(c)(1)(A) (possession of a firearm in

furtherance of a drug trafficking crime); and Count Twenty charged

a violation of 18 U.S.C § 1956(h) (conspiracy to launder money).
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(Doc. 811).

        A. Guilty Plea and Plea Agreement

        On or about January 23, 2009, Defendant entered a negotiated

plea of guilty (Doc. 1031) to Counts One and Twenty of the Third

Superseding Indictment.        In his Plea Agreement, Defendant waived

his right to appeal his sentence and conviction, and waived his

right to collaterally attack his sentence on any ground, except

under limited circumstances that do not apply here. (Doc. 1031 at

2).

        During the January 23, 2009, plea hearing, the Court explained

Defendant’s      constitutional     rights.   (Id.    at   6-8).   Defendant

acknowledged that he understood those rights and that he was

waiving them. (Id.).

        Later, government counsel summarized the plea agreement’s

terms, which included a recitation of the applicable penalties.

(Id. at 9-12). Thereafter, the Court asked whether the Defendant

had “gone over the [plea agreement] with [counsel],” and Defendant

replied “yes ma’am” [sic]. (Id. at 12).

        Next, the Court advised the Defendant of the applicable

mandatory minimum and statutory maximum penalties, saying it “would

be required to sentence [him] to no less than 20 years, and up to

life.”      When the Court asked if Defendant understood, Defendant

responded “yes.” (Id. at 19).


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       The Court then advised Defendant that the exact guideline

calculation    was   indeterminable       at   that   time   and   noted    that

Defendant would remain bound to the plea agreement even if “it

turns out that the guideline calculation is different than what you

and your lawyer have talked about.” (Id. at 20). When the Court

asked if Defendant understood, he again responded, “yes, your

honor.” (Id.).

       Next, the Court asked if “anyone had promised [the Defendant]

something that’s not written down [in the plea agreement]. . . .”

(Id. at 14). Defendant responded “no ma’am” [sic]. (Id.). Further,

the Court asked if “anybody made you a promise about what your

specific sentence would be.” (Id.). Again, Defendant replied “no

ma’am” [sic]. (Id.).       When the Court asked defense and government

counsel if either promised Defendant a specific sentence, they both

responded that they had not. (Id.).

       The Court also asked if Defendant was “pleased with the

representation and the advice he had received from [defense]

counsel.” Again, Defendant responded “yes, your honor.” (Id. at

23).   Ultimately,   the    Court   found      that   Defendant    freely   and

voluntarily entered his guilty plea. (Id. at 24).




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     B. Sentencing

     The Presentence Investigation Report (PSR) held Defendant

accountable for at least 653 kilograms of cocaine. (PSR at ¶56).

The probation officer further recommended a two-level enhancement

for possession of a firearm, as well as a two-level enhancement

because Defendant was convicted of violating 18 U.S.C § 1956. (PSR

at ¶¶56-57). Additionally, the probation officer recommended a

four-level    increase   for   the   Defendant’s   role.   (Id.   at   ¶59).

Finally, the probation officer found that Defendant’s criminal

history category was IV. (Id. at ¶71). Defendant objected to each

enhancement and to his criminal history score. (Doc. 1459 at 1-7).

     The     Court   addressed   Defendant’s   objections     during      the

September 21, 2009, sentencing hearing.1 (Doc 1465).         Although the

Court held Defendant accountable for more than 150 kilograms of

cocaine,2 it sustained Defendant’s objection as to role and awarded

a three-level enhancement rather than the four-level enhancement

that the probation officer recommended. (Id. at 63).              The Court

also credited defense counsel’s argument as to the two-level


     1
      Although Defendant’s appellate counsel was present for the
September 18, 2009, sentencing hearing and tendered a notice of
appearance, (see Exhibit A attached hereto), the Court declined to
entertain the filing and instead simply took testimony from her.
     2
      Given that a finding of 150 kilograms warrants a base level
of 38, the highest available base offense level, resolving the
Defendant’s objection to the probation officer’s 653 kilogram
finding with more specificity was unnecessary.      See U.S.S.G.
§2D1.1.

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increase for the firearm, ultimately declining to award that

enhancement as well. (Id. at 58). Consequently, the Court set

Defendant’s total offense level at 43. (Id. at 60,63).

        Thereafter, the Court addressed Defendant’s criminal history

category.         After   hearing   testimony    from   Defendant’s   appellate

counsel, who represented Defendant in a matter relevant to his

criminal history score, the Court sustained Defendant’s objections

on this matter as well.(Id. at 63).

        After setting Defendant’s guideline range at 360 months to

life,       the   Court   then   entertained     Defendant’s   request   for   a

variance.3 (Id. at 76). Specifically, Defendant’s counsel asked the

Court to vary from the guideline range by imposing a sentence in

the 240 month range. (Id. at 77).

        After hearing Defendant’s argument, the Court granted that

request in part. (Id. at 79).                Ultimately, the Court sentenced

Defendant to serve 324 months as to Count 1 and 240 months as to

Count 20, to run concurrently. (Id.).

        C. Direct Appeal and other Post Conviction Proceedings

        Defendant’s appellate counsel timely filed a direct appeal.

(Doc. 1548). On October 27, 2009, Defendant’s appellate counsel

withdrew the appeal with prejudice in a document that the Defendant



        3
      Regardless of defense counsel’s objection to Defendant’s
criminal history level, his Guideline range remained 360-life.

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personally signed. (See Exhibit B attached hereto). On December 2,

2009, the Eleventh Circuit granted Defendant’s motion. (Doc. 1640).

     On May 10, 2010, Defendant timely filed this Motion.(Doc.

1031-2). On May 24, 2010, the Court directed the Government to

respond. (Doc 1780).

           II. LEGAL ARGUMENT & CITATION OF AUTHORITIES

     In   this       case,   Defendant    asserts     that    his   counsel   was

ineffective4     and    requests   and    evidentiary       hearing.   The   Sixth

Amendment provides that, “In all criminal prosecutions, the accused

shall enjoy the right to have the Assistance of Counsel for his

defence.” U.S. Const. Art. III, § 2, cl. 3; see Strickland v.

Washington, 466 U.S. 668, 686 (1984).                To prevail on a claim of

ineffective assistance of counsel brought pursuant to § 2255 and

the Sixth Amendment, a two prong showing is necessary. Id. at 687.

     First,      a     defendant   must       show   that    defense   counsel’s

performance was deficient in that it was unreasonable in light of

the “prevailing professional norms” and that “no competent counsel”

would have taken the action or committed the contested omission.

See Strickland, 466 U.S. at 687-88; Chandler v. United States, 218

     4
      Although Defendant’s motion leaves unclear whether he intends
to complain about his appellate counsel’s conduct, because one
ground that he asserts in support of his ineffectiveness claims
failing relates to a failure to file a direct appeal, and because
his appellate counsel filed a notice of appeal on his behalf, the
Government infers that the appointed counsel who represented the
Defendant before the district court in original proceedings is the
target of his criticisms.

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F.3d 1305, 1315 (11th Cir. 2000).                  When challenging defense

counsel’s performance for unreasonableness, a defendant faces a

“strong presumption” that counsel “made all significant decisions

in the exercise of reasonable professional judgment.” Chandler, 218

F.3d at 1316 and n.18; Chateloin v. Singletary, 89 F.3d 749, 752

(11th Cir. 1996) (noting that a strong presumption exists that

counsel’s action constitutes “sound strategy”).

       A defendant bears the burden of establishing that his or her

counsel performed unreasonably. See Strickland, 466 U.S. at 687-88;

Chandler, 218 F.3d at 131. Where a defendant fails to meet this

burden, the court need not analyze prejudice; likewise, where a

defendant fails to show prejudice, a court need not examine

reasonableness.        See Strickland, 466 U.S. at 697; Chandler, 218

F.3d at 1312-13.

       Second, should a defendant show unreasonableness, he or she

must   then    establish     prejudice       resulting    from   the     inadequate

performance.        Strickland, 466 U.S. at 668, 687-88; Chandler, 218

F.3d   1305    at    1313.   “A   reasonable     probability     that,     but   for

counsel’s unprofessional errors, the result of the proceeding would

have been different,” is necessary to show prejudice.                  Strickland,

466 U.S. at 698.         A “reasonable probability” is a probability

sufficient to undermine confidence in the case’s outcome. Id.

       Here,   the     Defendant    argues      that     his   counsel    rendered

ineffective assistance by (1) failing to file a direct appeal at


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Defendant’s request (Doc. 1779 at 3); (2) failing to argue at

sentencing that Count Twenty does not apply to Defendant because of

the language in 18 U.S.C. § 1957 (Id. at 6); (3) advising him

inadequately          about      the    potential          consequences        of   the   charges

against him by promising a specific sentence and promised certain

downward adjustments, neither of which he received (Id. at 2, 5);

and     (4)    failing      to    argue      for       a   minimal      role    adjustment     at

sentencing. (Id. at 5). For the reasons below, Defendant is wrong.

        1.         Reasonableness

        Here, while Defendant’s first contention, that his original

counsel performed unreasonably by disregarding an instruction to

file a direct appeal, might arguably have some merit on the

reasonableness issue,5 none of the remaining acts or omissions

about which Defendant complains fell below the applicable standard.

For instance, Defendant’s second contention, that his counsel

unreasonably failed to argue that § 1957's language rendered that

statute and hence Count Twenty inapplicable to him fails as a

matter        of    fact,   for        it   ignores        that   the    Third      Superseding

Indictment charged a violation of 18 U.S.C. §1956(h).                               (Doc. 811).



        5
      See Roe v. Flores-Ortega, 528 U.S. 470, 477 (2000) (finding
that a lawyer who disregards specific instructions from the
defendant to file a notice of appeal acts in a professionally
unreasonable manner); Gomez-Diaz v. United States, 433 F.3d 788,
792 (11th Cir. 2005)(finding that if the defendant requests his
attorney file a notice of appeal, the attorney is ineffective for
failing to do so). As shown below, however, any arguable failure
on this point caused no prejudice.

                                                   8
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Consequently, his counsel’s decision not to raise this argument at

sentencing or at any other time was a perfectly rational strategic

decision.

     As to the Defendant’s third contention, that his counsel

failed to adequately inform him about the scope of consequences of

that he faced by pleading guilty, by promising him specific

Guideline reductions, and by promising him a specific sentence, he

ignores his sworn assurances to the contrary.6         A defendant’s sworn

statements carry a “strong presumption of verity.” Blackledge v.

Allison, 431 U.S 63, 74 (1977). To overcome that presumption, a

defendant must present more than “mere conclusory allegations.”

(Id.). Contrary to his representations, the Defendant acknowledged

at his plea hearing that he understood the charges against him and

the consequences of pleading guilty. (Doc. 1031 at 24). He further

swore that no one made him any promises beyond those memorialized

in his plea agreement and that he understood, that no one had

promised him a specific sentence, and that only the Court could

decide   the   length   of   his   sentence.   (Doc.   1031   at   14,   23).



     6
      To the extent that the Defendant intends to litigate whether
his guilty plea was knowing and voluntary outside the context of
his ineffectiveness claims, his argument is not only procedurally
barred by his failure to raise the matter on direct appeal, see
Bousley v. United States, 523 U.S. 614, 621 (1998) (finding that
the voluntariness and intelligence of a guilty plea can be attacked
on collateral review only if first challenged on direct review),
but also foreclosed pursuant to the collateral attack waiver in his
plea agreement.


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Consequently, his argument fails on this point as well.

       The Defendant’s fourth contention, that his counsel performed

unreasonably by failing to argue at sentencing for a minimal role

sentencing adjustment, is similarly ill-founded.7                    The United

States Sentencing Guidelines allow for a minimal role reduction for

“defendants who are plainly among the least culpable of those

involved in the conduct of a group.” U.S.S.G. § 3B1.2. cmt. n,4.

Given the Court’s finding that the Defendant’s conduct warranted a

three-level       adjustment    for   leadership,    an    upward       adjustment

applicable to individuals who “exercised management responsibility

over       the   property,     assets,   or   activities     of     a     criminal

organization,” defense counsel’s decision not to argue for a

minimal      role   reduction     constituted   an   utterly        unassailable

strategic judgment as a matter of law. U.S.S.G. § 3B1.1. cmt. n,2.

Consequently, the decision not to raise this argument did not fall



       7
      Furthermore, to the extent that the Defendant intends to raise
these matters outside of the context of his ineffectiveness claims,
his argument is barred not only for the reasons described in note
6, but also because sentencing errors and the technical
applications of the Sentencing Guidelines are not “cognizable
grounds for relief” in a §2255 action. See Ayuso v. United States,
361 Fed. Appx. 988, 991 (11th Cir 2010); Hunter v. United States,
559 F.3d 1188, 1191 (11th Cir. 2009); Burke v. United States, 152
F.3d 1329, 1331 (11th Cir. 1998)(finding that the defendant’s claim
was not cognizable on collaterally review because it is neither
“constitutional nor jurisdictional and does not constitute a
fundamental defect resulting in a complete miscarriage of
justice.”); United States v. Segler, 37 F.3d 1131, 1134 (5th Cir.
1994) (noting that a district court’s technical application of the
sentencing guidelines “does not give rise to a constitutional issue
cognizable under a §2255).

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below any professional norm.

        Summarily, all decisions Defendant challenges, except for the

allegation that his original counsel disregarded an instruction to

file a direct appeal, showed reasonable professional judgment and

sound       representation     strategy.       Consequently,     the     Court    may

summarily deny all of the Defendant’s ineffectiveness claims but

one on this prong alone.8

        2. Prejudice

        Assuming      arguendo     that    Defendant’s      counsel         performed

unreasonably by failing to file a direct appeal, failing to attack

Count       Twenty,   giving     substandard      advice    that       induced   the

Defendant’s      guilty    plea,    and    failing   to    ask   for    a   downward

adjustment for minimal role at sentencing, the Defendant cannot

come forward with evidence to show prejudice on this record.                       An

adequate       prejudice     showing   requires      evidence    that       counsel’s

“unreasonable errors . . . had an adverse effect on the defendant.”

See Hill, 474 U.S at 57; Slicker v. Wainwright, 809 F.2d 768 (11th

Cir. 1987).        Because no set of facts exist under which Defendant

can show that the failures he cites prejudiced him, the Court may

dismiss all of his claims without further proceedings.

        For instance, as to the first ground, even if the Defendant



        8
      Furthermore, Defendant stated to the Court at his sentencing
hearing that his counsel’s representation was sufficient and that
he was “pleased with the representation and the advice he had
received from defense counsel in this case.” (Doc. 1031 at 23).

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directed the attorney appointed to represent him in the district

court to file a notice of appeal, and even if that attorney failed

to follow the instruction, Defendant’s retained appellate counsel

timely   filed    a   notice   of    appeal    on   his   behalf.   Under   such

circumstances, the Defendant had a full and fair opportunity as a

matter of fact to litigate any issues that he wished on appeal.

Consequently, any alleged decision that his original counsel made

to disregard the Defendant’s directive caused no harm.

     For     other    reasons,      the    Defendant’s    second    and   fourth

allegations likewise fail.           As to the second contention, because

the record shows no viable ground for attacking Count Twenty,

either by reference 18 U.S.C. § 1957, or on any other basis, any

suggestion that such a “failure” caused the Defendant harm is

frivolous.       In a related vein, as to the Defendant’s fourth

contention, because the Court found that the Defendant was entitled

to a three-level upward adjustment for an aggravating role, and

because such a finding is inconsistent with a finding that the

Defendant was entitled to downward adjustment for a mitigating

role, the Defendant could not have suffered any harm as a result of

defense counsel’s decision not to ask for the downward adjustment.

Cf. U.S.S.G. § 3B1.1(explaining that an aggravating role increase

is warranted if the defendant was an organizer, leader, manager or

supervisor of criminal activity),U.S.S.G. § 3B1.2 (explaining that

a mitigating role decrease is warranted if the defendant was a


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minimal or minor participant in the criminal activity).

      Finally, on the third ground, even assuming that defense

counsel in fact gave insufficient advice about the consequences of

the   Defendant’s    guilty    plea,        the   applicability    of    certain

adjustments, or the sentence that the Defendant should expect, not

only is the record inconsistent with a prejudice finding, but the

Court’s advice to the Defendant severed any causal connection

between the bad advice and any alleged harm. The record shows that

after the Court specifically advised the Defendant that a life

imprisonment term was a possible consequence of his plea, the

Defendant,   who    was   ultimately    sentenced      to   only   324   months,

acknowledged that he understood.            Cf. Long v. United States, 883

F.2d 966, 969 (11th Cir. 1989) (finding that erroneous advice did

not cause prejudice to the defendant where defendant received a

benefit from pleading guilty and requiring evidence that defendant

received “the maximum sentence allowable” to show prejudice).

Furthermore, despite his contentions that his counsel’s inaccurate

assurances about his entitlement to specific downward adjustments

caused him to plead guilty, the Defendant likewise acknowledged

under oath that he knew that no one, including the Court, could be

certain how the Guidelines would apply to him at the time of his

plea, an acknowledgment wholly at odds with his present contentions

and sufficient to break the causal chain between the allegedly bad

advice and the plea.      See Bryan v. United States 492 F.2d 775, 779-


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780 (5th Cir. 1974) (finding where defendant offered only his own

affidavit in support of his allegations, and the affidavit directly

contradicted his statements made at his guilty plea hearing, the

district court properly denied relief).         Additionally, given the

Defendant’s sworn assurances to the Court that no one had made him

any promises of a specific sentence or any other promise not

captured in the Plea Agreement’s terms, any suggestion that such

promises misled him and hence induced his guilty plea are spurious.

Id.   Consequently, the Defendant’s arguments on his third point

offer him no ground for relief, either.

      3.   Summary

      Defendant cannot satisfy either prong of his ineffectiveness

claim in light of the record. Therefore, the Court should deny

Defendant’s motion.

           A.    No evidentiary hearing is needed.

      Although Defendant requests a hearing, the Court need not hold

one prior to ruling on Defendant’s motion. An evidentiary hearing

is not necessary every time a §2255 claim is raised. Gordon, 518

F.3d at 1301. A §2255 petitioner “is entitled to an evidentiary

hearing if he alleges facts which, if proven, would entitle him to

relief.” Futch v. Duggar, 847 F.2d 1483, 1485 (11th Cir. 1989).

Because the record is at odds with Defendant’s claim that he was

dissatisfied    with   his   attorney,   the   Court   need   not   hold   an

evidentiary hearing. See United States v. Ferguerson, 699 F. 2d


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1071, 1073 (11th Cir. 1983). Denying a request for a hearing

presents no error when the court can “conceive of a reasonable

motivation for counsel’s actions.” Gordon, 518 F.3d at 1302.

      As shown above, Defendant’s brief lacks any allegation that

would entitle him to relief regardless of what evidence he brings

in support concerning the ineffectiveness claim. Summarily, because

the   record   is   sufficient    to   enable   the   Court   to   dispose   of

Defendant’s    Motion   without    extrinsic     evidence,    no   hearing   is

required.

                            III. CONCLUSION

       For the forgoing reasons, the United States respectfully

requests that the Court deny Defendant’s Motion to Vacate, Set

Aside, or Correct Sentence (Doc. 1779) without hearing.



                                            Respectfully Submitted,


                                            SALLY QUILLIAN YATES.
                                            UNITED STATES ATTORNEY


                                            /s Jenny R. Turner
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                  IN THE UNITED STATES DISTRICT COURT

               FOR THE NORTHERN DISTRICT OF GEORGIA

                           ATLANTA DIVISION


UNITED STATES OF AMERICA,        :        CRIMINAL INDICTMENT
                                 :        1:07-CR-279-43-CAP
          v.                     :
                                 :        CIVIL ACTION
KEVIN JIMENEZ CASTILLO,          :        1:10-CV-1444
                                 :
     Defendant.                  :

               CERTIFICATE OF COMPLIANCE AND SERVICE

     I hereby certify that the above was prepared using Courier New

12 point font, and that I have caused a copy of the foregoing

GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION TO VACATE, SET ASIDE OR

CORRECT SENTENCE to be electronically filed with the Clerk of Court

using the CM/ECF system, and to be delivered to the following non-

CM/ECF participant(s) by depositing a copy in the United States

mail in an envelope bearing sufficient postage for delivery:


     Kevin Jimenez Castillo
     Reg. # 39509-018
     FCI Pollock
     P.O. Box 4050
     Pollock, LA 71467



     This 2nd day of August, 2010.



                                          S/JENNY R. TURNER
                                          Assistant United States Attorney
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